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15   Company

16                             UNITED STATES DISTRICT COURT

17                          NORTHERN DISTRICT OF CALIFORNIA

18   IN RE: ROUNDUP PRODUCTS                     MDL No. 2741
     LIABILITY LITIGATION
19                                               Case No.: 3:16-md-02741-VC

20   Richard Canning, et al. v. Monsanto Co.,    DEFENDANT MONSANTO COMPANY’S
                                                 REPLY IN SUPPORT OF ITS MOTION
     Case No. 3:19-cv-04230-VC                   TO EXCLUDE TESTIMONY OF DR. D.
21
                                                 BARRY BOYD
22
                                                 Hearing:
23                                               Date: March 1, 2024
                                                 Time: 10:00 a.m.
24                                               Place: San Francisco Courthouse,
                                                        Courtroom 4 – 17th Floor
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 1   I.    INTRODUCTION
 2          Plaintiff’s opposition (“Opposition”) largely ignores the core points of Monsanto’s
 3   Motion, or else reaffirms the aspects of Dr. Boyd’s opinions that render them unreliable. Plaintiff
 4   contends that because Dr. Boyd said he performed a differential diagnosis, his opinions are
 5   beyond reproach. However, claiming to apply a differential diagnosis does not equate to a
 6   properly conducted differential diagnosis. Dr. Boyd’s differential diagnosis strays far from any
 7   conventionally accepted method as his process does not reliably rule-in Roundup, but instead is
 8   merely designed to lead to his pre-ordained conclusion. Engaging in a flawed “always Roundup”
 9   methodology, Dr. Boyd determines Roundup to be the cause while not seriously considering
10   Plaintiff’s numerous and substantial non-Roundup risk factors for NHL. As such, Dr. Boyd’s
11   specific causation opinion must be excluded. See Chapman v. Procter & Gamble Distrib., LLC,
12   766 F.3d 1296, 1311 (11th Cir. 2014) (affirming exclusion of expert witness who “failed to
13   consider obvious alternative causes for [plaintiff’s condition]”).
14   II.   ARGUMENT
15         A. Dr. Boyd Fails to Reliably Rule In Roundup
16          As an initial matter, Monsanto does not dispute that a differential diagnosis is an
17   admissible and generally accepted technique. (See Opp. at 3-4.) Instead, Monsanto disputes that
18   Dr. Boyd’s opinions are grounded on a properly conducted differential diagnosis.
19          Plaintiff claims that Dr. Boyd properly ruled in Roundup based on his “exposure days”
20   methodology. But Dr. Boyd fails to calculate the specific dose that Plaintiff experienced, which
21   must be considered when “evaluating whether an alleged exposure caused a specific adverse
22   effect.” See, e.g., McClain v. Metabolife Intern., Inc., 401 F.3d 1233, 1242 (11th Cir. 2005)
23   (“Dose is the single most important factor to consider in evaluating whether an alleged exposure
24   caused a specific adverse effect.”). Plaintiff’s Opposition also fails to squarely address
25   Monsanto’s argument that courts have routinely excluded experts who fail to establish dose and
26   instead rely only on exposure. See, e.g., McClain, 401 F.3d at 1239 (excluding expert as
27   unreliable as the expert “neglect[ed] the hallmark of the science of toxic torts—the dose-
28   response relationship.”); In re Denture Cream Prod. Liab. Litig., 795 F. Supp. 2d 1345, 1353
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 1   (S.D. Fla. 2011) (excluding expert testimony where “there is no dose-response evidence which
 2   Plaintiffs’ experts may use to reliably infer what type of exposure level” would cause the injury).
 3          Plaintiff’s Opposition also misconstrues Monsanto’s argument that Dr. Boyd’s opinions
 4   are unreliable because he improperly relied on the opinions of another expert, Dr. Herrick. (Opp.
 5   at 4.) Monsanto does not dispute that experts can rely on another expert’s opinions. Instead,
 6   Monsanto contends that any such reliance must be based on opinions that are reliable. Here,
 7   Plaintiff does not address any of Monsanto’s contentions that the expert opinion that is the
 8   cornerstone of Dr. Boyd’s opinions – Dr. Herrick’s “exposure days” analysis – is unreliable.
 9          First, Dr. Herrick’s analysis does not measure dose or even the actual amount of
10   Roundup to which Plaintiff was exposed. (See Ex. Q, Herrick (Canning) Dep. at 63:15-64:13;
11   130:20-22; 174:5-11.) Instead, Dr. Herrick simply read Plaintiff’s testimony and counted the
12   number of days Plaintiff claimed to spray Roundup. See id. at 29:4-30:6; 72:20-74:7; 167:9-
13   169:1. But the number of days a person claims to have sprayed Roundup says nothing about the
14   amount of Roundup in that person’s body – especially where, as here, Dr. Herrick did not
15   consider crucial metrics of dose, such as method of application, the PPE used by Plaintiff, or
16   even the concentration of Roundup that Plaintiff used. For this reason, Dr. Herrick admits, as he
17   must, that his exposure days methodology does not relate to the actual biological level in
18   humans. See id. at 151:5-156:5. Furthermore, Dr. Herrick admitted that he did not consider, or
19   make adjustments for, Plaintiff’s use of personal protective gear in his analysis despite
20   acknowledging that such factors may reduce a person’s exposure to Roundup. See id. at 117:23-
21   121:3, 196:12-24; see also id. at 120:4-121:8 (respirator mask reduces inhalation exposure to
22   Roundup), 121:4-24 (surgical mask).
23          Dr. Herrick further admits that he did not account for Plaintiff’s method of application -
24   targeted spot spraying via a small hand pump sprayer. See id. at 181:24-182:22; 203:16-20. Dr.
25   Herrick admitted that failure to account for this method of application would mean that his
26   exposure estimates could be higher than Mr. Canning’s actual exposure. Id. at 196:12-221:5.
27   Still, Dr. Herrick did not make any adjustments for Plaintiff’s method of application simply
28   because he “didn’t really have that sort of detail to come up with a more refined number.” Id. at
                                                     2
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 1   218:1-20. Accordingly, Dr. Herrick’s opinions are unreliable, and because Dr. Boyd relies
 2   entirely on Dr. Herrick’s opinions to rule in Roundup, there are no additional grounds upon
 3   which Dr. Boyd’s specific-causation opinions can stand.1
 4           Plaintiff also contends that Dr. Boyd properly “ruled-in” Roundup as a cause of
 5   Plaintiff’s NHL because of Plaintiff’s “substantial exposure to Roundup[.]” (Opp. at 7). But this
 6   argument is entirely circular. Dr. Boyd cannot rule in Roundup simply because Plaintiff used it.
 7   Instead, he must establish that Plaintiff was exposed to an amount of Roundup sufficient to cause
 8   NHL. See McClain, 401 F.3d at 1244 (holding that an expert must “show that Plaintiffs had
 9   sufficient individual exposure [] to cause the medical problems”); see also Mitchell v. Gencorp
10   Inc., 165 F.3d 778, 781 (10th Cir. 1999). And he cannot do this, as he fails to consider dose and
11   instead relies on an exposure days methodology, which is insufficient. See Williams v. Mosaic
12   Fertilizer, LLC, 889 F.3d 1239, 1246 (11th Cir. 2018) (affirming exclusion of expert where
13   expert “never conducted an independent dose calculation” and “failed to demonstrate a scientific
14   basis for concluding that those exposure levels would likely produce, contribute to, or exacerbate
15   [plaintiff’s] conditions.”)
16           Finally, Monsanto’s argument that “Dr. Boyd’s use of certain studies and datapoints
17   violates the weight of the evidence of review he purports to be applying” is not an argument as
18   to the weight (rather than admissibility) of Dr. Boyd’s opinions, as Plaintiff suggests. (Opp. at
19   5.) Instead, as stated in Monsanto’s opening brief, Dr. Boyd cherry-picked literature and data
20   points in reaching his opinions, in the face of the near totality of literature finding that Roundup
21   does not cause NHL. Such cherry-picking renders Dr. Boyd’s opinions wholly unreliable. See
22   In re Bextra & Celebrex Mktg. Sales Practices & Prods. Liab. Litig., 524 F.Supp.2d 1166, 1175–
23   76, 1179 (N.D.Cal.2007) (holding that experts may not “cherry -pick[ ]” studies to support a
24   conclusion that is contradicted by others); see also In re Lipitor (Atorvastatin Calcium) Mktg.,
25   Sales Pracs. & Prods. Liab. Litig., 892 F.3d 624, 634 (4th Cir. 2018) (“Result-driven analysis,
26   or cherry-picking, undermines principles of the scientific method and is a quintessential example
27
     1
      Monsanto has filed a motion to exclude Dr. Herrick’s opinions on this very basis. See Dkt. No.
28   17,617.
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 1   of applying methodologies (valid or otherwise) in an unreliable fashion. Courts have
 2   consistently excluded expert testimony that cherry-picks relevant data”) (internal quotation
 3   marks and citation omitted). Rather under Daubert, Dr. Boyd’s opinions must be excluded
 4   because they do not reliably rule-in Roundup as a cause of Plaintiff’s NHL. See Siharath v.
 5   Sandoz Pharms. Corp., 131 F. Supp. 2d 1347, 1371 (N.D. Ga. 2001) (excluding expert witness
 6   for failure to reliably rule in product).
 7         B. Dr. Boyd Fails to Reliably Rule Out Alternative Causes
 8           Plaintiffs’ argument that Dr. Boyd’s handling of alternative causes goes to weight and
 9   not admissibility is fundamentally incorrect. Where, as here, an expert fails to meaningfully rule
10   out alternative causes, his opinions should be excluded. Guinn v. AstraZeneca Pharms. LP, 602
11   F.3d. 1245, 1254 (11th Cir. 2010) (“A differential diagnosis that fails to take serious account
12   of other potential causes may be so lacking that it cannot provide a reliable basis for an opinion
13   on causation”) (emphasis added).
14           Here, as part of his differential diagnosis, Dr. Boyd fails to take serious account of
15   several known alternative causes of Plaintiff’s NHL – (1) Plaintiff’s age, gender and ethnicity;
16   (2) exposure to other chemicals; (3) family history of cancer; and (4) naturally-occurring genetic
17   mutations due to replication errors. Although such alternative causes are clear risk factors for
18   Plaintiff’s NHL, Dr. Boyd summarily rules them out, simply stating that his analysis is
19   predicated on the “essential exclusion of other potential risk factors [] that could be causative[.]”
20   (Ex. C, Boyd Rpt. at 34.) However, a properly conducted differential diagnosis requires the
21   expert to “systematically rul[e] out causes that would not apply to the patient” to arrive “at what
22   is the likely cause of the ailment.” Myers v. Ill. Cent. R.R. Co., 629 F.3d 639, 644 (7th Cir.
23   2010); see Guinn, 602 F.3d at 1253 (holding that an expert’s opinion was properly excluded
24   where the differential diagnosis failed to consider alternative causes and was deemed
25   unreliable).
26           Dr. Boyd’s failure to meaningfully consider Plaintiff’s risk factors demonstrates that he
27   has employed a flawed, results-driven “always Roundup” methodology—precisely the type of
28   unconventional approach that should be excluded.
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 1                 1. Age, gender, and ethnicity.
 2          Plaintiff is an 81-year-old Caucasian male who was diagnosed with NHL in his early
 3   70s. Dr. Boyd testified that Plaintiff’s age, gender, and ethnicity put him at an increased risk of
 4   developing NHL. See Ex. B, Boyd (Canning) Dep. at 71:3-72:10; see also Ex. C, Boyd Rpt. at
 5   31 Yet, Dr. Boyd did not reliably consider those risk factors. Ex. B, Boyd (Canning) Dep. at
 6   71:3:71:10. Plaintiff’s Opposition makes no attempt to address Dr. Boyd’s cursory dismissal of
 7   such risk factors and simply reiterates Dr. Boyd’s vague statements that he did consider all risk
 8   factors. Dr. Boyd’s failure to take serious account of these factors—which he admits are risk
 9   factors for NHL—renders his opinions unreliable. Guinn, 602 F.3d at 1253.
10                 2. Exposure to other chemicals and herbicides.
11          Plaintiff argues that Dr. Boyd considered and ruled out Plaintiff’s exposure to other
12   chemicals and herbicides as an alternative cause of Plaintiff’s NHL. Plaintiff claims that Dr.
13   Boyd ruled out Plaintiff’s exposures to other chemicals as a cause of Plaintiff’s NHL because
14   Plaintiff’s exposure to other chemicals was limited due to his use of personal protective
15   equipment and method of application. (Opp. at 6.) By contrast, however, Dr. Boyd did not
16   account for protective equipment or method of application in ruling in Roundup. Plaintiff’s
17   Opposition attempts to dismiss the contradiction, stating that “[t]he significant differences
18   between the potential personal exposure of an irrigation pump and a backpack sprayer” allowed
19   Dr. Boyd to reasonably rule in Roundup and rule out other chemicals. (Id.) However, Dr. Boyd
20   relies entirely on Dr. Herrick’s exposure analysis, which Dr. Herrick testified he did not make
21   any adjustment to his Roundup exposure estimate based on the personal protective equipment
22   worn by Plaintiff or the method of application. See Ex. B, Boyd (Canning) Dep. at 61:7-10;
23   82:20-23; see also Ex. Q, Herrick (Canning) Dep. at 181:24-182:22; 203:16-20. Thus, Dr. Boyd
24   does not use the same intellectual rigor in ruling in Roundup as he uses to rule out alternative
25   causes. Dr. Boyd’s failure to meaningfully consider Plaintiff’s exposure to other chemicals
26   renders his methodology unreliable. Guinn, 602 F.3d at 1253.
27

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 1                 3. Family history of cancer.
 2          Plaintiff has a family history of cancer in a first-degree relative. Dr. Boyd testified that
 3   he ruled out Plaintiff’s family history of cancer as an alternative cause of his NHL because the
 4   type of cancer in his family (prostate cancer) is an “extremely common form of cancer in men”
 5   and one that is “generally accepted in the medical and scientific communities as not making a
 6   person more susceptible to developing NHL.” See Ex. B, Boyd (Canning) Dep. at 96:8-97:2.
 7   But confusingly, Dr. Boyd relies on literature contradicting such testimony in his report. For
 8   instance, Boyd relies on the McDuffie study, and cites to it in his report, which found an
 9   increased risk of NHL when a first-degree relative had any type of cancer. (See Ex. C, Boyd
10   Rpt. at 38, n. 48.; see also Ex. I, McDuffie, et al., Non-Hodgkin’s Lymphoma and Specific
11   Pesticide Exposures in Men: Cross-Canada Study of Pesticides and Health, 10 Cancer
12   Epidemiology, Biomarkers & Prevention 1155, 1160 (2001). Plaintiff’s Opposition does not
13   address the contradiction but simply reiterates the Boyd Report. (See Opp. at 6:18-25.)
14                 4. Naturally-Occurring Mutations.
15          Dr. Boyd offers no basis to rule out idiopathic causes (including naturally-occurring
16   genetic mutations) as the cause of Plaintiff’s NHL. Plaintiff contends that Dr. Boyd reliably
17   ruled out naturally-occurring mutations because “differential diagnoses are appropriate even
18   when there is a high rate of unknown causes” and where “the expert cannot completely rule out
19   idiopathic causes.” (Opp. at 7.) But Plaintiff’s argument misunderstands the relevant science.
20   Naturally-occurring mutations are themselves a cause of NHL. As this Court has recognized,
21   Monsanto’s evidence regarding naturally-occurring genetic mutations is offered to rebut the
22   testimony of Plaintiffs’ specific causation experts who, like Dr. Boyd, simply rule-in Roundup
23   based on their conclusion that a plaintiff did not have other risk factors:
24         THE COURT: . . . why does Monsanto want to put this witness on at trial? The
25         answer to me, it seems, is obvious; right? You have these specific causation experts
           who are doing a very sketchy job of differential diagnosis or differential etiology.
26         And basically, what they are saying is, well, you know, there are these four risk
           factors for NHL, and the patient didn’t have these three risk factors. The only risk
27         factor was exposure to Roundup. Therefore, the Roundup caused the patient’s
           NHL; right? I mean, that is – I’m oversimplifying a little bit. I mean, they’re
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           finessing it a little bit. But effectively, that seems to be what the – that’s the message
 1         from these specific causation experts.
 2
           That type of testimony is obviously quite sketchy, and you know, Tomasetti’s
 3         testimony helps a juror understand why the testimony of these specific causation
           experts is so sketchy; right?
 4

 5   See Hsu Decl., Ex. P, 12/12/23 Daubert Hr’g. Tr. re: Dr. Christian Tomasetti in Delorme-Barton

 6   (“Tomasetti Daubert Hr’g.”) at 157:7-22.          The Court has also recognized that evidence

 7   regarding naturally-occurring genetic mutations explains causation of NHL without regard to

 8   environmental factors:

 9         THE COURT: And what it’s been up until now, I think, is, well, the high percentage
10         of NHL cases are idiopathic. And that’s a very abstract concept for the jurors, and
           you know, it’s easy for the plaintiff’s experts to sort of wave that away; right?
11         …
           And you’re putting meat on the bones of what you’ve said previously which is that
12         such a high percentage of NHL cases are idiopathic.
13   Id. at 158:17-25.

14         THE COURT: why isn’t it very helpful for the jury to hear that X percent of -- were
15         high -- even if there’s no number attached to it -- a high percentage of the, you
           know, cancer and a high percentage of NHL, you know, as is -- is -- can be
16         attributed simply to these replication errors without regard to environmental
           factors, and here’s how it works.
17

18   162:21-163:3.

19           Here, Dr. Boyd admits that spontaneous mutations may initiate cancer (see Ex. B, Boyd

20   (Canning) Dep. at 56:20-57:10), and that he cannot rule out that Mr. Canning’s NHL was caused

21   by natural replication errors. Id. at 75:11-16. Thus, this is not a case where, as Plaintiff suggests,

22   Dr. Boyd “cannot completely rule out idiopathic causes.” (Opp. at 7.) Rather, it is a case where

23   Dr. Boyd admits that one potential cause of Plaintiff’s NHL is natural replication errors—a cause

24   that experts have testified causes approximately 95% of NHL in the population (see Hsu Decl.,

25   Ex. P, Tomasetti Daubert Hr’g. at 49:4-16; 57:6-16)—and where Dr. Boyd does not

26   meaningfully consider and rule out this alternative cause. Ex. B, Boyd (Canning) Dep. at 75:11-

27   16.

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 1          Plaintiff’s reliance on Wendell v. GlaxoSmithKline LLC does not save Dr. Boyd’s
 2   opinions. First, the expert’s opinions in Wendell were predicated on a quantitative understanding
 3   of a decedent’s dose of certain prescription drugs. Wendell v. GlaxoSmithKline LLC, 858 F.3d
 4   1227 (9th Cir. 2017). Here, by contrast, Dr. Boyd’s opinions are based on an “exposure days”
 5   analysis that wholly do not account for dosage. Moreover, the Wendell court held that although
 6   the expert was unable to entirely rule out the possibility that plaintiff’s NHL might have been
 7   idiopathic, “[h]e did not base that assumption on pure conjecture.” Wendell, 858 F.3d at 1235.
 8   But Dr. Boyd does not do the same. Here, Dr. Boyd testified that he could not rule out replication
 9   errors, which he admits can cause NHL, see Ex. B, Boyd (Canning) Dep. at 56:20-57:10, 75:11-
10   16, and which explain a significant number of NHL cases that would previously have been
11   classified as idiopathic. See Ex. P, Tomasetti Daubert Hr’g. at 158:17-25. And, Dr. Boyd
12   ignores extensive epidemiology data that shows no increased risk or no dose-response for NHL
13   due to glyphosate exposure while admitting that he cannot rule out that Plaintiff’s NHL was
14   caused by replication errors. See Ex. B, Boyd (Canning) Dep. at 56:20-57:10, 75:11-16.
15          As such, Dr. Boyd offers no reliable method in ruling out naturally-occurring genetic
16   mutations, and therefore, his opinion must be excluded. See, e.g., Guinn, 602 F.3d at 1253.
17                                           CONCLUSION
18          For the foregoing reasons, the Court should grant Monsanto’s motion to exclude
19   Plaintiff’s specific causation expert Dr. Boyd.
20   Dated: January 22, 2024                      Respectfully submitted,
21                                                BRYAN CAVE LEIGHTON PAISNER LLP
22                                                /s/ Linda C. Hsu
                                                  Linda C. Hsu
23                                                Attorneys for Defendant Monsanto Company
24
                                    CERTIFICATE OF SERVICE
25
              I HEREBY CERTIFY that on this 22nd day of January 2024, a copy of the foregoing
26   was filed with the Clerk of the Court through the CM/ECF system, which sent notice of the
     filing to all appearing parties of record.
27
                                                  /s/ Linda C. Hsu
28                                                Linda C. Hsu
                                                       8
                  REPLY ISO MOTION TO EXCLUDE TESTIMONY OF DR. D. BARRY BOYD
